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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


STEWART ABRAMSON,                           )
                                            )
                      Plaintiff,            )       Civil Action No. 18-479
                                            )
       v.                                   )       Judge Cathy Bissoon
                                            )       Magistrate Judge Lisa Pupo Lenihan
OASIS POWER, LLC, et al.,                   )
                                            )
                      Defendants.           )


                                   MEMORANDUM ORDER

       This case has been referred to United States Magistrate Judge Lisa Pupo Lenihan for

pretrial proceedings in accordance with the Magistrates Act, 28 U.S.C. §§ 636(b)(l)(A) and (B),

and Local Rule of Civil Procedure 72.

       On July 31, 2018, the Magistrate Judge issued a Report (Doc. 28) recommending that

Defendant Oasis’s Motion to Dismiss (Doc. 23) be denied. Service of the Report and

Recommendation was made on the parties, and no objections have been filed.

       After a review of the pleadings and documents in the case, together with the Report and

Recommendation, it hereby is ORDERED that Defendant’s Motion to Dismiss (Doc. 23)

is DENIED, and the Magistrate Judge’s Report and Recommendation (Doc. 28) is adopted as the

Opinion of the District Court.

       IT IS SO ORDERED.


August 28, 2018                                     s\Cathy Bissoon
                                                    Cathy Bissoon
                                                    United States District Judge

cc (via ECF email notification):

All Counsel of Record
